FILED
CHARLOTTE, NC

_ MAY 10 2019 - og
UNITED STATES DISTRICT COURT
US DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA WESTERN DISTRICT OF NC

Lick CABoL Rud! KILL.

Plantift,
COMPLAINT

VS. . Case No._3°19-Cv- dab - RIC
North Car lina
Board of Elections

 

 

Defendant(s).

 

A. JURISDICTION |
Jurisdiction is proper in this court according to: |
xX 2 U.S.C.§1983
42 U.S.C. §1985
____ Other (Please specify)

 

B. PARTIES

4. Name of Plaintit
Address:

 

 

 

 

 

2. Name of Defendant: ‘oth, Carol a Eca pl att Elections
Address: 1x0 N: SBUS ppubd ST Let CArctt] tiger)

 

Is employed as | at
(Position/T te) (Organization)

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Was the defendant acting under the authority or color of state law at the time
these claims occurred? YES 2 NO _ if "YES” briefly explain:
The Bc CAme BAS ACH 1g 0 deferm we
Validity, of Conplamt régaytwg_Cléctean ats
Of 20/8 Orn Congdon at DISEL fkeofrow

3, Name of Defendant
Address:

 

 

 

 

Is employed as at
(Position/T ite) (Organization)

Was the defendant acting under the authority or color of state jaw at the time
these claims occurred? YES NO _ f "YES briefly explain:

 

 

 

4. Name of Defendant
Address:

 

 

 

 

Is employed as ___ at.
(Position/T tile) (Organization)

Was the defendant acting under the authority or color of state law at the time
these claims occured? YES NO if "YES briefly explain:

 

 

 

(Use additional sheets if necessary.)

C, NATURE OF CASE

Why are you bringing this case to court? Please explain the circumstances that led to
the problem.

“the NC Boal of -Clections DUP TBE Ch nuestegarted
the 24 Cypress. Dr 2018 Election in arf 019 after

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casl Be! BE bsg Bee rye 2 coat “lod Jositas” Pen 7

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D, CAUSE OF ACTION

| allege that my constitutional nghts, privileges or immunities have been violated and
that the following facts form ihe basis jor my allegations: (If necessary you may attach
additonal pages)

a. (1) Count4§ Ne BoP E} lechons fi hed ty ddlag rely thenetly 2 Lye.

-(2) Supporting Facts: (Describe exactly what each deféndant did or did not sete
Go, State ihe facts clearly in your own words without citing any legal
authority. Use additonal sheets ifn

Up : i prsaeg ee Hamsto wath)

    

 

(2) Supporting Facts: (Describe exactly what each defendant did or did not
Go. State the facts clearly in your own words without cling any legal
authority. Use addifional sheets if necessary, )

 

 

 

E. INJURY

How h have you been injured by the actions of the defendant(s)?

4s a wter In the-T*¢Cpgressore Distne tar.
in Ne olefins of all types, hracl my rehts elated to
2 legH Pyarfe- Qovermance ae chem e By Naw,
an pnestigateo of clvepony Oubts (aslult>Gov. o
. Previouselectaim congh mnt Etabed in Reyectuy th 2 ple >)

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clely won 204 Votes 20 T CasnoyPrust
Ning state aren Voy. 4 OTACI As,

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sch 75 | Dent |
b. (1) Count2: 4

 
 

F, PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

Rave you fled ofher lawsuits in state or federal court that deal, with the same facts that
‘are invofved in this action? YES NO

Hf your answer ts “YES”, describe each jawsulL (i there is more than one lawsuit,
describe additional lawsuits on additonal separate pages, using the same outline.)

1. Parbes to previous lawsuits:
Plaintifi(s):. | IN ft

Defendants({s):

 

2. Name of court and case or docket number. -

 

3. Disposition (for example, was the case dismissed? Was it appealed? Is it still -
pending?)

 

 

4, Issued raised:

 

 

 

5. When did you file the lawsuit?

 

Date: Month/Year

6. When was ft (will it be) decided?

 

Have you previously sought informal or form relief from the appropriate administrative
officials regarding the acts complained of in Part D? YES NO

If your answer is “YES” briefly describe how relief was sought and the results. If your
answer is "NO” explain why administrative relief was not sought.

 

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G. REQUEST FOR RELIEF

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Chlad view ehpefrim *

JURY TRIALREQUESTED ‘YES _ NO

Signed at Chitlotte NC on 5176/19

(Location) (Date)

aa 0 Krdentl
Signature |
Address: ‘Nol Londortowys Dv
Chihbote NC 2922
Phone: C 10) Pee “GIFS.

E-Mail:

 

  
   

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PLAINTIFF:

Lisa Carol Rudisill,
registered voter, 9" Congressional District, NC
7101 Londontowne Dr |

 

COMPLAINT:

Charlotte NC 28226

COMPLAINT AGAINST: NORTH CAROLINA BOARD OF ELECTIONS &

GOVERNOR ROY COOPER

DATE: May 10, 2019

I, Lisa C. Rudisill of Charlotte, a registered voter in the 9" NC Congressional
District, allege that the N.C. Board of Elections took illegal actions in its
questioning of the 2018 9" Congressional District Election results in which Mark
Harris won by number of votes, causing the 283,717 votes of this election to be
discounted and a new election to be called; that the standing Board of Elections —
officials who investigated this election did not have sufficient proof before.
investigation that the “tainting” of the election would affect the outcome in terms of
number of votes cast; that in fact, upon the final conclusion of the investigation,
¢hat the number of votes in question did NOT affect the actual vote outcome, thus
they did NOT overturn the election results; that through unfair pressuring of the
winning candidate in a hearing which should not have been called they caused the
winning candidate, Mark Harris, to withdraw due to much adverse publicity; that

their actions violated state elections law.

Further, as an informed voter, I maintain that with another election (then incumbent
Governor Pat McCrory vs current Governor Roy Cooper) in which such questions
of voter manipulation were raised, questions were discounted by the state Board
and new elections were NOT called for, making unfair and unequal treatment —

within this state and violating the voters express right to fair elections in the state.

It is also charged that the vote to create a new Ethics Board for the Board of
Elections which was passed last November by voters was used to affect this current
election unfair” with appointees to the board of the governor’s politicht béing made

in the early part of this election investigation of Mark Harris which “taint” the

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outcome of this investigation and cause substantial and unfair effects in the

resulting investigation of Mark Harris.

 

 

I bring these charges as a citizen of North Carolina, a registered and active voter,

and a voter within the 9 Congressional district of this state.

 

AS A RESULT OF THE ILLEGAL ACTIONS WHICH CAUSED THE NOVEMBER
2018 9TH CONGRESSIONAL ELECTION TO BE CONCEDED BY
WINNING CANDIDATE MARK HARRIS, I, AS A CITIZEN VOTER WITHIN
THIS CONGRESSIONAL DISTRICT, CALL FOR AN INJUNCTION TO STOP
THE CURRENT PRIMARY RE-ELECTION FOR THE 9TH CONGRESSIONAL s
DISTRICT WITH GENERAL ELECTION DATE BEING MAY 14TH, 2019. ae

 

Entered May 20, 2019
Charlotte, North Carolina

 

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Article from “The Conservative Action Report” detailing the events (with
references) that transpired with the Governor McCrory vs Cooper election as well

as the events regarding this case surrounding Mark Harris’s election overturning;
Board of Elections Print Screens from Internet: Journal Detailing Chronology of
Dates of Actions Surrounding the Investigation of Mark Harris and results,

including Board of Elections board changes.

Statement of Number of Votes Cast and the Lack of Effect that the Removal of

Absentee Votes for Mark Harris actually had in the election results—-NONE.

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The Conservative Action Report

 

_ Mol. IX No. 2a . ’ - _Mareh-April 2019

Cire uation 18,000

 

 

 

N orth Carolina Election Board
Fails to Do Its ; Duty

in Investigation of
Harris-McCready Election

What the left-wing wi ® Not Carina Bout of Be:

bias : _ tions. The complaint alleges a small group
media failed to tell you of individuals in Bladen County are me-
a ee 7 ~. nipulating . absentee. ballots to inflate
By William G. Carter McCrory’s. opponent’s vote totals. The
. ‘Our story begins on election night Bladen County Improvement. Association *
. 2016 (not 2018). Incumbent N.C. Gov. Pat . PAC (focused on “‘get out the vote” absentee *
McCrory seeking a second four year term ballots in the African-American communi: ©
trails Roy Cooper (the Democratic candi-. ty) has received:‘money from the North Car-
date and Attorney General) by 5,000 votes . olina Democratic Party to fund an absen-
tee ballot vote campaign. Sound ‘familiar?
(Source: WBTV Charlotte, Feb, 29, 2019)
The N.C. Board of Elections rejects
McCrory’s complaint, ruling the attorneys
for the Republicans have not ‘presented
“substantial evidence sufficient to change
the outcome of the election.” This criterion |
is standing State Law in North Carolina.
. So if a plaintiff cannot’ prove -his op-
. ponent stole enough votes. to overturn his
opponents” lead; nothing is actionable. A |
“tainted” election has:no standing 4 in North
’ Carolina law.
- McCrory then files a complaint with '
the North Carolina State Bureau of Investi-
gation or NCSBI. ,
“Neither » “complaint” * i “acted” “pol”
McCrory. suspects election fraud in other
' counties and-ends up challenging the ab-
sentee ballots in 52 of 100 North Carolina
counties in his complaint, but the investi- |
_ gation never-.occurs.
_ McCrory : says, “If a Democrat is be-
“Pat McCrory. _ hind in an election, it’s enough to say the
' glection is ‘tainted’ without producing
or oo, . proof of vote fraud sufficient to change the
as the polls close. The 5,000-vote lead held outcome of the election, while if a Repub-
by Cooper represents a tiny fraction of the _lican is behind, the State doesn’t-even call
4.6 million votes cast. a hearing.” (Source: WBT Charlotte Radio
Gov. McCrory suspects election fraud Feb. 20, 2019)
and in December 2016 files a complaint Fast forward to the Nov. 6, 2018 Ninth

 

 

 

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(Continued from page 1)

On day two of the hearing, one Lisa
Britt appeals as a witness. She testifies
that she was hired by McCrae Dowless to
a  —————  ———eottectabsentee ballots (a violation of the
law). This is evidence of a “tainted” elec-
tion, but it does not meet the Standard of
NC Election as “sufficient to change the

 

Mark Harris —

outcome of an election.”

-.On the basis of Britt’s testimony, the
Charlotte Observer's editorial -board runs
_an opinion column titled; “We've: Heard
Enough,” which states that the hearing was
a proceeding to determine if Republican
Mark ‘Harris’ victory over Detiocrat’ Dan

“McCready - -on Nov..6,:2018. was.“tainted.” -
It ends‘ saying that the NC ‘Board of Elec--:
tions doesn’t need proof that at least 905 -
votes were tamperéd with, or that’ ‘Harris °
knew ‘it was happening. ‘Correction: ° IT"

MOST CERTAINLY DOES!

That-is to be in compliatice with state.

law of “substantial evidence sufficient. to

change the outcome of the election must be.

presented. ..
' Lisa Britt also testified that “Mark Har-
-Tis had no knowledge of the workings of.
the Dowless operation.”

‘That. McCrae Dowless violated the
rules for collecting absentee ballots ap-
pears ebvious. That this changed the out--
come of an election where 283 »717 people

; voted is not evident.

If you eliminate every absentee bal-
lot that Mark Harris got in Bladen County
(420) and Robeson County (259) (source:
Raleigh News & Observer, Feb. 15, 2019),
thus eliminating the effects of the Dowless
absentee vote campaign from the election,
and allowing Dan McCready’s. canipaign
to keep all the absentee ballots, Mark Har-
ris still wins by 226 votes. That is, as the
Democrats say, “if every vote counts.”

(420.+ 259 = 679 minus Harris 905 vote
lead = a victory by 226 votes.

On day four of the hearing, after John

 

 

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: McCready. never: ap-

/ know, but I’d lay odds he did!!!

Harris testifies against his own father, Har- |
ris, demoralized and surrounded by en-
emies, capitulates and gives his eiemies :
what they want: a new election.

Shortly afterward, McCready’s attor-
ney Mark Elias calls for an abrupt end to
the hearing and Roy Cooper’s Election
Board quickly complies. Thus it appears
that Mark Harris walked into an ambush—
a hearing whose only goal was to force
a new election and trash the ballots of
283,717 voters.

- According to Pat McCrory, the reason |
Elias moved to close the proceedings was
to éliminate any possibility of other wit-
nesses being called who were there to testi-
fy.about the activities ofa Democratic Par-
ty apparatus that was conducting its own
absentee ballot campaign that functioned
just like the Dowless group. (Source: Pat
McCrory, “Pat. McCrory Show,” WBT
Charlotte, Feb. 26, 2019)

In addition, there are witnesses who
say individuals’ with the Bladen County
Improvement PAC group: picked up their
ballots (which is a violation of NC State
Election.law). Three’ men‘ with the Bladen
County Improvement PAC collected more
than '400 signatures. (Source:: -WBT Char-
lotte, TV Feb..25, » 2019, 6:38 pm d7: 12
P. m.). co

In. addition, ‘Dan

 
  
 

peared at these pro-
ceedings. So; he was -:
unavailable to answer
anything” ‘if-called to.
‘do.so: So exactly what
-kind off ‘a a hearing ‘was. |
this? ,

Wet now know that
McCrae’ Dowless has
worked in many other campaigns, mostly

 

‘Lisa Brit

Democrats. DID he arrange the “Absentee

Ballot Campaign” in Bladen County for
Roy-Cooper in 2016, the one Pat McCrory
filed a complaint about? Well, we don’t

What we did discover was that’ ‘Dow-
less:testified in “CLOSED SESSION” be-

- fore Cooper’s handpicked election board

and what he disclosed to them was so un-

settling that the Board “refused to: compel

him to testify before them in an open ses-
sion (which was never reported by the print .
media in North Carolina).

Source: NBCNews.com, Feb. 19,2019, :
by Leigh Ann Cardwell

- Besides, the goal of the hearings that
began’ on Feb. 18 was to STOP MARK |
HARRIS, not to let the truth of McCrae
Dowless’ other efforts out in the.sun for all
to see.

It is evident that the pro-LGBTQ Char-
lotte Observer and their owners in Cali-
fornia were not going to allow Mark Har-

 

 

 
 

District Congressional Election, .

' Mark Harris wins the NC. Ninth Dis-
trict Congressional election by 905 votes.
Dan McCready, the Democrat, concedes
defeat and all appears finished until Joshua
Malcolm, Vice-Chairman of the NC Board
of Elections, an. at-
torney by-trade anda Jy
Democrat by choice,
declares the Ninth
District race is taint- —4
ed and makes a mo-
tion that the Election
Board not certify the
election. The NC
Election Board so
votes, and declares a
hearing for Dec. 21
to hear evidence of
election . irregulari-
ties.

 

Dan McCready

The hearing set for Dec..21 is post-__

poned until Jan. 11 and then to Feb. 18.

During this time, The Charlotte Observer

conducts a campaign to convict Mark Har-
ris in. the “court of public’ opinion.” ‘Har-

- tis stafeg on Feb: 9 that the Democrats:and

liberal media have ‘ ‘spared little expense
_ disparaging his good-name.” - ¢

On Feb. 18, the long awaited hearings,
conducted by a new five. man NC Board
of Elections, begins. This Board is hand-
picked by Democratic Gov. Roy Cooper
and is composed of three Democrats and

’ two Republicans, a built-in advantage for
the Democrats.

Marc Elias, a nationally recognized at-
torney forthe National Democratic Party,
is on hand to represent Democrat Dan Mc-
Cready. Elias, when asked, refuses to dis-
close who is paying his legal bill, which

. change the outcome

   

will surely be large. In contrast, Mark Har-
ris hires an attorney at his own n expense. *

Elias never takes
the position that there
is “substantial evi--
dence sufficient _ to

of the election.” He ig-
nores the criteria used
to refuse Pat McCrory
a hearing in 2016 and
chooses instead to at-
tack Mark Harris for

 

Mark Elias

._ ignoring his son John Harris’ advice not to
- hire McCrae Dowless, a political operative

in Bladen County. Dowless is involved in a
vote fraud allegation that he and seven oth-
er people he employed actively collected
7 absentee ballots on be-
half of Mark Harris (a
violation of NC law).
~Elias’ hopes © to
| show that Harris knew
Of: Dowless’.. illegal
absentee . vote. scam
by- showing ARat: his .

 

— Mee Son John: hadwarned >
McCrae Dowless him about Dowless by
: emails. : ,

Meanwhile,

‘Andy Yates, co-founder of “Red Dome
Group,” : ,a © political . consulting. . firm:

that was hired by Matk Harris to help
manage. his _ campaign, . testifies’ that
“McCrae Dowless knew the details of ab-
sentee ballot Jaw well and that he believed

‘Dowless and his‘ workers were following _

the law carefully.” Source: Charlotte Ob-
server, page 1, Feb. 20, 2019.
;

See Harris-McCready, page 3.

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Pat McCrory says i in the Feb. 18 shearing that Mark Elias

 

 

(Dan McCready’s lawyer) and Gov. Roy Cooper’s hand- |
picked election board, did not want any testimony made
public about the Bladen County Improvement PAC during -
the Feb. J 8-21 hearings.

 

 

 

feontinuedfnm # gage 4)

ris, former head of N.C. Southern Baptist spent $6 million to $2 million) pulled off |
Convention and leader. of the campaign an upset election‘and actually won? We |
in North Carolina-to have a State Consti- will most likely never know because of |
tutional Amendment defining marriage as _ the shoddy investigation by Roy Cooper’s
between one man and one woman (which Election Board.

won by 61 percent of the vote) to become In closing, will the voters of the N.C.
the new congressman in the Ninth Con- Ninth Congressional District allow a Cali-

 

DanMcC ready, Democrat candidate for Congress
in North Carolina’s Ninth District, refuses to goon
the Pat McCrory show. (WBT Charlotte Radio)

 

 

 

gressional District. fornia-owned leftist newspaper, The Char-

Was the knowledge of McCrae Dow- _lotte Observer, to shoehorn their candidate :
less’ past activities on behalf of the Demo- _ into Congress and ram their leftist agenda |
crats the “ultimate insurance policy” the down our throats? It’s time to resist!

Democrats possessed in case Harris (out-

 

Ifyou subtract every absentee vote Mark Harris received
and allow Dan McCready to keep all of his absentee votes,
Mark Harris still wins by 226 votes!

 

 

 

 

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ls) BLOT ‘LZ
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gh0z ‘BUOHoae asnoH “Sn ‘JevopMPSucouN pyecg Sy Jo eNOS Sup Pase|Jap Jeu Bul UNoo Jaysea UE 0} PaPauUUOD Sera UOISHEP Sli “SUORIE!S 10 PIEOG a}E]S Sty SAJOSSIp OF Pon sefpnl aeys seg jo joued ¥ “SLOg ‘227 sequrataqy] »

 

                      

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S10g “suORSaf FUROR HON ‘LOZ ‘LE Arehuer uo sauje6o} swe preog Mau e GUN afues 0} payuiodde 2g pinom pueeg WS] UE JOO JES|OUN SEMA ‘SUIT SUL TY “UOOU Je PSsjossin SEA SUOTIE|F 10 NIFOG SEIS PUNOIED ULON SUL *

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NUMBER OF VOTES CAST IN ELECTION OF
NORTH CAROLINA 9TH CONGRESSIONAL DISTRICT
IN OCTOBER/NOVEMBER 2019 & THE EFFECTS OF
REMOVAL OF ABSENTEE VOTES FOR HARRIS

IN COUNTIES IN QUESTION: ROBESON AND BLADEN

MARK HARRIS VOTES / 2F, 2K

DAN MCCREADY VOTES ) BE, BH |
5,1B0

 

JEFF SCOTT VOTES
* — Election Won by Harris—Margin was (cos vores *
MARK HARRIS TOTAL VOTES Fi 5
To Ww Leen |
Less Total of All Absentee Votes Bladen County 43 7

Hod

Less Total of All Absentee Votes Robeson County 2 59
Remaining Total Mark Harris Votes: 07)
OUTCOME OF ELECTION NOT AFFECTED

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(WDNC Rev. 05/11} Summone in e Civil Action

UNETED STATES DISTRICT COURT
ee : for the
Ww estern District of North Carolina |

Plaintiff

” 1158 CAROL
KupIStle

Civil Action No. 3. 197 GV> 2b > RSC

Nem Nee Nee See See” Nee See”

Defendant NS

oe

CLS on n> SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) as c
Noemi CAgoLinlA BiArkp of ELECNONS

u20 NcausBiey <p (3% floor)
RALEIGH, NC 2703-379

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — or 60 days if you are named as a defendant within an
asbestos litigation case - you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff's attorney, whose name and address are:

LisA UDISILL
10) rm ontoun€ J

Charlotte Ne. 28226

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

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CWDNC Rev. 05/11) Summons in « Civil Action

Crvil Action No.

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summon for (name of individual and title, if arry)

 

was received by me on (date)

 

 

 

 

 

 

 

 

 

 

Oo I personally served the summons on the defendant at :
(place)
on (date) 3 or

Q I left the summons at the individnal’s residence or nsual place of abode with (name) |

, 4 person of suitable age and discretion who
resides there, on (date) , and mailed a copy to the individnal’s last :
known address; or ,
Cy T served the summons on (name of individual) ,
who is designated by law to accept service of process on behalf of (name of organization)
on (date) 3; or
I returned the summons unexecuted becanse 3 OF
Other (specify):
My fees are $ for travel and $ for services, for a total of
g ——_-———— ——_—_ ;

I declare under penalty of perjury that this information is true.

Date:

 

 

 

Server’s signature

 

Printed name and title

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